                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )      Case No. 1:20-cr-29-CLC-SKL
                                                       )
 v.                                                    )
                                                       )
                                                       )
 ANTONIO RASHAWN PETTY                                 )
                                                       )

                              REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on September 8,

 2020.   At the hearing, defendant waived his right to prosecution by indictment and consented to

 proceeding on a superseding information rather than indictment, and entered a plea of guilty to

 Count One of the one-count Superseding Bill of Information pursuant to a written plea agreement.

 I find defendant made a knowing and voluntary waiver of indictment and consent to proceed before

 the magistrate judge. On the basis of the record made at the hearing, I find the defendant is

 capable and competent to enter an informed plea; the plea is made knowingly and with full

 understanding of each of the rights waived by defendant; the plea is made voluntarily and free

 from any force, threats, or promises; apart from the promises in the revised plea agreement; the

 defendant understands the nature of the charge and penalties provided by law; and the plea has a

 sufficient basis in fact.

         Therefore, I RECOMMEND defendant’s plea of guilty to Count One of the Superseding

 Bill of Information be accepted, and the Court adjudicate defendant guilty of the charges set forth

 in Count One of the Superseding Bill of Information, and a decision on whether to accept the plea

 agreement be deferred until sentencing.    I further RECOMMEND defendant remain in custody

 until sentencing in this matter.   Acceptance of the plea, adjudication of guilt, acceptance of the




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 plea agreement, and imposition of sentence are specifically reserved for the district judge.



                                               s/  fâátÇ ^A _xx
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE



                                       NOTICE TO PARTIES

          You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
 to file objections within fourteen days constitutes a waiver of any further right to challenge the
 plea of guilty in this matter. See 28 U.S.C. '636(b).




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